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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00450-JRG
                                    §
      vs.                           §                LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00448-JRG
                                    §
      vs.                           §                CONSOLIDATED CASE
                                    §
LANDMARK BANK N.A.                  §
                                    §
      Defendant.                    §
___________________________________ §


                   AMENDED ORDER OF DISMISSAL WITH PREJUDICE

         On this date, the Court considered Plaintiff Symbology Innovations, LLC’s Unopposed

Motion to Amend Order Dismissing Case to a Dismissal with Prejudice (Dkt. No. 133). Having

considered the circumstances surrounding this matter, as well as the fact that the matter stands

fully resolved, the Court finds that the motion should be granted.

         Therefore, IT IS ORDERED that all claims between Symbology Innovations, LLC and

Landmark Bank N.A. are dismissed with prejudice, with each party to bear its own fees and

costs.
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     SIGNED this 19th day of December, 2011.
    So ORDERED and SIGNED this 23rd day of November, 2016.




                                            ____________________________________
                                            RODNEY GILSTRAP
                                            UNITED STATES DISTRICT JUDGE
